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               IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF MONTANA

                          *******************

UNITED STATES OF AMERICA

               vs.

Frank James Sanchez                          No. CR 16-82-BLG-SPW

DOB: 10/25/1997                              PETITION TO OPEN JUVENILE RECORDS



Whereas the above-name defendant entered a plea of Guilty to the offenses of Misprision of a
Felony. in violation of 18 U.S.C. § 4. and Accessory After the Fact. in violation of 18 U.S.C. § 3.
and the court having ordered a Pre-Sentence Investigation into the Defendant's background, the
Petitioner requests all juvenile records pertaining to the Defendant, including Law Enforcement,
County Probation, County Welfare, and Department of Institutions records, be made available.




                                                     March 21. 2017
                                                     Date

                                        **********
                                          ORDER
                                        **********

The Court having considered the aforementioned petition; does hereby order the release of pertinent



                                                A
juvenile records held by any Law Enforcement Agency, Probation Office, Welfare Agency, or
Department oflnstitutions to the Petitioner or authorized agency of the Adult Probation and Parole
Officer.

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                                                  U.S. District Judge

                     t     '
Dated this    cZ/.r dayof~2017.
